             Case: 21-10076    Document: 00516070933 Page: 1 Date Filed: 10/27/2021
     FILED   Case 4:20-cv-00476-A Document 42 Filed 10/27/21 Page 1 of 1 PageID 348

  October 27, 2021
  KAREN MITCHELL
CLERK, U.S. DISTRICT     United States Court of Appeals
      COURT
                              for the Fifth Circuit                           United States Court of Appeals
                                                                                       Fifth Circuit

                                              ___________                            FILED
                                                                              October 27, 2021
                                               No. 21-10076                     Lyle W. Cayce
                                              ___________                            Clerk

                United States of America,

                                                                         Plaintiff—Appellee,

                                                   versus

                Juan Jimenez-Nava

                                                         Defendant—Appellant.
                                ______________________________

                           Application for a Certificate of Appealability from the
                       United States District Court for the Northern District of Texas
                                          USDC No. 4:20-CV-476 -A
                               ______________________________

                ORDER:
                       IT IS ORDERED that the Appellant’s motion for a Certificate of
                Appealability is DENIED.
                       IT IS FURTHER ORDERED that the Appellant’s motion to
                proceed in forma pauperis on appeal is DENIED.


                                                   /s/ James E. Graves, Jr.
                                                   ___________________________
                                                   James E. Graves
                                                    United States Circuit Judge
